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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                         1st Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                             Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR: Joel Vargas                                                     JOINT DEBTOR: Gladys I Cespedes-Vargas                  CASE NO.:
 Last Four Digits of SS# xxx-xx-4353                                    Last Four Digits of SS# xxx-xx-3821

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $             331.32 for months             1     to       60       ;
           B.       $                      for months                 to                ;
           C.       $                      for months                 to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  3,500.00       TOTAL PAID $                      3,500.00
                     Balance Due        $                        payable $                       /month (Months               to          )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 -NONE-                                                  Arrearage on Petition Date $
 Address:                                                         Arrears Payment $                               /month     (Months     to )
 Account No:                                                      Regular Payment $                               /month     (Months     to )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate          Plan Payments Months of Payment    Total Plan Payments

 -NONE-                                          $                                           %          $                           To
Priority Creditors: [as defined in 11 U.S.C. §507]
     -NONE-                       Total Due $
                                  Payable     $                                            /month           (Months to )        Regular Payment $
Unsecured Creditors: Pay $ 298.18 /month (Months 1 to 60 ).

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Bnkunted Fsb: Debtor will pay claim directly.
             Regions: Debtor will pay claim directly.


             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that each year the case is
             pending the debtor(s) shall provide the trustee with their filed tax returns at the same time as the tax returns are filed
             with the Internal Revenue Service or other taxing agency and shall provide the trustee with verification of their
             disposable income.




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I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Joel Vargas                                                     /s/ Gladys I Cespedes-Vargas
 Joel Vargas                                                         Gladys I Cespedes-Vargas
 Debtor                                                              Joint Debtor
 Date: December 3, 2015                                              Date: December 3, 2015




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